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             In the United States Court of Federal Claims
                                    No. 13-211 C
                              (Filed October 18, 2013)

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ALAMO, et al.,             *
                           *
               Plaintiffs, *
                           *
          v.               *
                           *
THE UNITED STATES,         *
                           *
               Defendant.  *
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                                       ORDER

      On October 17, 2013, defendant filed a Notice of Restoration of Funding
and Unopposed Motion to Reset Deadlines. Therein, defendant states that
Congress has restored funding to the government and requests that the court reset
defendant’s reply deadline to its motion to transfer. Specifically, defendant
requests that the court set defendant’s reply to its motion to transfer filing deadline
to October 29, 2013.

      Accordingly, it is hereby ORDERED that:

      (1)    The Clerk’s Office is directed to LIFT the stay in this matter;

      (2)    Defendant’s motion is GRANTED; and

      (3)    Defendant shall FILE its Reply, on or before October 29, 2013.



                                               /s/Lynn J. Bush
                                               LYNN J. BUSH
                                               Judge
